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 8                           UNITED STATES DISTRICT COURT

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             ) 2:15-MJ-00207-AC-1
                                           ) 2:15-CR-00218-AC
12             Plaintiff,                  )
                                           ) [Proposed] ORDER TO SET CHANGE
13        v.                               ) OF PLEA AND SENTENCING
                                           )
14   WILLIAM LOUIS FILTER,                 ) DATE: April 14, 2016
                                           ) TIME: 2:00 p.m.
15             Defendant.                  ) JUDGE: Hon. Allison Claire
                                           )
16                                         )
                                           )
17                                         )
18                                      ORDER

19        It is hereby ordered that the case be set for a change of plea
20   and sentencing on April 14, 2016 at 2:00 p.m.
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22   DATED: April 12, 2016
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